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AFFIDAVIT

State of Pennsylvania

v`/V
U.\
l'D

County of Dauphin

Before me the subscribers personally appeared Mary Kerns to me
known, being duly sworn according to law, doth depose and say on
February 28, 2018 @ 2:08 p.m., I served the Acting Secretary of
State of the Commonwealth, Robert Torres, in the matter of the
United States Middle District Court of Pennsylvania Case 1218-cv-
00463-CCC; The Public Interest Legal Foundation v. Robert Torres,
in his official capacity as Acting Secretary of the Commonwealth
of Pennsylvania, and Jonathan M. Marks, in his official capacity as
Commissioner of the Bureau of Commissions, Elections and Legislation
I handed the Summons and Complaint with Exhibits to Jason McMurry,
Legal Counsel, who accepted these documents for Robert Torres.

And further deponent sayeth not.

\\M»\Nwwz/

Mary Kerns
5235 N. Front St.
Harrisburg, PA l7llO

Sworn and subs ribed before me this
&day of 2018

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COMMONWEALTH OF PENNSYLVANIA
` NOTAR|ALSEAL
s She§|yJoThomas, Notary Public
` Susquehanna Twp., Dauphin County
§ My commission Expires Ocr, 18, 2021
ME¢».:BER. PENNSYLVAN¢AASSOCIATLON oF NoTARlES

  

 

 

 

